          Case 1:25-cv-00917-RJL      Document 111   Filed 05/27/25    Page 1 of 3




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


                           )
  WILMER CUTI,ER PICKERING )
  HALE AND DORR LLP,       )
                           )
           Plaintiff,      )
                           ) Civil Case No. 25-917 (RJL)
      v.                   )
                           )
 EXECUTIVE OFFICE OF THE   )
 PRESIDENT, et al.,        )
                           )
           Defendants.     )
_________                _ )


                                 ..._ ORDER
                           May 2'1 2025 [Dkt. #15; Dkt. #16]

        For the reasons set forth in the accompanying Memorandum Opinion, defendants'

 Motion to Dismiss [Dkt. #15] and Wilmer Cutler Pickering Hale and Dorr LLP's

 ("WilmerHale") Motion for Summary Judgment [Dkt. #16] are each GRANTED IN

 PART and DENIED IN PART. Accordingly, it is hereby

         ORDERED that defendants' Motion to Dismiss [Dkt. #15] is GRANTED to the

 extent it seeks to dismiss Counts VIII, IX, and XI and DENIED to the extent it seeks to

 dismiss Counts I-VII and X; it is further

         ORDERED that Counts VIII, IX, and XI are DISMISSED WITH P REJUDICE;

 it is further

         ORDERED that WilmerHale's Motion for Summary Judgment is GRANTED as

 to Counts I-VII and X and DENIED AS MOOT as to Counts VIII, IX, and XI; it is further
                                             1
        Case 1:25-cv-00917-RJL         Document 111       Filed 05/27/25     Page 2 of 3




       DECLARED that Executive Order 14250, 90 Fed. Reg. 14549 (Apr. 3, 2025),

issued by the President on March 27, 2025 and entitled "Addressing Risks from

WilmerHale," is unconstitutional because it violates the First, Fifth, and Sixth Amendments

to the U.S. Constitution and is ultra vires, and is therefore null and void; it is further

       ORDERED that all defendants other than defendant United States (together, the

"agency defendants") are PERMANENTLY ENJOINED from implementing or giving

effect to Executive Order 14250, including by relying on or considering any of the

statements in§ 1 of Executive Order 14250; it is further

       ORDERED that the agency defendants shall immediately take any and all steps

necessary to nullify and reverse any implementation or enforcement of Executive Order

14250 that has occurred or is occurring; it is further

       ORDERED that the agency defendants shall immediately issue guidance to their

officers, staff, employees, and contractors, instructing them to disregard Executive Order

14250; it is further

       ORDERED that counsel for defendants shall provide counsel for WilmerHale with

copies of such guidance within seven (7) days of issuance; it is further

       ORDERED that counsel for defendants shall, within seven (7) days of this Order,

file with the Court a status report describing the steps taken to ensure compliance with this

Order and certifying compliance with its requirements; it is further

       ORDERED that WilmerHale's Motion for a Preliminary Injunction [Dkt. #3] is

DENIED AS MOOT; and it is further



                                               2
 Case 1:25-cv-00917-RJL       Document 111      Filed 05/27/25   Page 3 of 3




ORDERED that this Court shall retain jurisdiction to enforce or modify this Order.

This Order shall serve as the judgment of the Court.

SO ORDERED.




                                  RICHARD J�EON
                                  United States District Judge




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